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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA

  GUN OWNERS OF AMERICA, INC.,
  GUN OWNERS FOUNDATION, and
  RICHARD HUGHES,

         Plaintiffs,

  V.                                                           Civil Action No. -------

  SHERIFF KEITH PEARSON, in his official
  capacity as Sheriff of St. Lucie County, the
  ST. LUCIE COUNTY SHERIFF'S OFFICE,
  THOMAS BAKKEDAHL, in his official capacity
  as the State Attorney for the 19th Judicial Circuit of
  Florida, and the STATE ATTORNEY'S OFFICE
  for the 19th Judicial Circuit of Florida,

         Defendants.


              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

         Plaintiffs Gun Owners of America, Inc., Gun Owners Foundation, and Richard Hughes

  ("Plaintiffs"), by and through undersigned counsel, file this Complaint against Sheriff Keith

  Pearson in his official capacity as the Sheriff of St. Lucie County, the St. Lucie County Sheriff's

  Office, Thomas Bakkedahl in his official capacity as the State Attorney for the 19th Judicial Circuit

  of Florida, and the State Attorney's Office for the 19th Judicial Circuit of Florida ("Defendants"),

  alleging violations of the right to keep and bear arms guaranteed by the Second and Fourteenth

  Amendments to the United States Constitution. Plaintiffs seek a declaration that Fla. Stat.

  § 790.053(1) is unconstitutional, and injunctive relief enjoining Defendants from enforcing it. 1n

  support thereof, Plaintiffs allege as follows:




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